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                         IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                              )
J.O.P., et al.,                               )
                                              )
                 Plaintiffs,                  )
                                              )
        v.                                    ) Case No. 8:19-cv-01944-SAG
                                              )
U.S. DEPARTMENT OF HOMELAND                   )
SECURITY, et al.                              )
                                              )
                 Defendants.                  )
__________________________________________)

             DEFENDANTS’ POSITION IN RESPONSE TO COURT ORDER


       Pursuant to the Court’s April 16, 2025 Order, ECF No. 239, Defendants provide the Court

with their position as to whether Defendants will agree not to remove any Class Member, as

defined in Section II.E of the Settlement Agreement, ECF 199-2, pending the hearing in this matter

on Tuesday, April 22, 2025. At this time, Defendants do not agree to not remove any Class

Member, as defined in Section II.E of the Settlement Agreement, ECF 199-2, pending the hearing

in this matter on Tuesday, April 22, 2025, given the parties’ disagreements concerning Plaintiffs’

pending Motion to Enforce, ECF No. 227, addressing the applicability of the Settlement

Agreement.

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Dated: April 16, 2025              Respectfully submitted,

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                                    Civil Division

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                                    Director
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